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                        No. 3:18-cv-252-CWR-FKB

      SECURITIES AND EXCHANGE
      COMMISSION,
                                                             Plaintiff,

                                     v.

      ARTHUR LAMAR ADAMS AND
      MADISON TIMBER PROPERTIES, LLC,
                                                          Defendants.
                          ____________________

                    ORDER REGARDING RELATED CASES
                          ____________________

         Before CARLTON W. REEVES, District Judge.
      On June 22, 2018, this Court appointed a Receiver to take con-
      trol and manage the Receivership Estate of Arthur Lamar Ad-
      ams and Madison Timber Properties. Docket No. 33. That Or-
      der grants the Receiver the authority to “institute such actions
      or proceedings to impose a constructive trust, to sue for and
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      collect, recover, receive or take into possession from third par-
      ties all Receivership Property, Receivership Records, and any
      assets traceable to assets of the Receivership Estate.” Id. at 7.
      Rule 66 of the Federal Rules of Civil Procedure provides that
      receiverships must “accord with the historical practice in fed-
      eral courts.” A review of authorities reveals that in similar
      cases, the district court that appointed the Receiver has re-
      tained jurisdiction over any claims related to the Receivership
      Estate. 1
      In accordance with these authorities, and to provide for judi-
      cial efficiency in the adjudication of cases, the Court finds that
      actions brought by the Receiver or related to the Receivership
      Estate should be assigned to the undersigned judge and Mag-
      istrate Judge F. Keith Ball as related cases, subject to such
      terms and conditions as the Chief Judge may order pursuant
      to Section IX, paragraph D of this Court’s Internal Rule No. 1.
      SO ORDERED, this the 20th day of September, 2018.
                                                     s/ CARLTON W. REEVES
                                                  United States District Judge




      1 See S.E.C. v. Am. Pensions Servs., Inc., No. 2:14-CV-309-RJS-DBP, Docket
      No. 782 (D. Utah June 29, 2016) (transferring interpleader to Judge pre-
      siding over Receivership action); S.E.C. v. Am. Pensions Servs., Inc., No.
      2:14-CV-309-RJS-DBP, Docket No. 923 (D. Utah May 23, 2017) (transfer-
      ring action filed by Receiver to recover Estate funds to Judge presiding
      over Receivership); Zayed v. NRP Fin., Inc., No. 12-CV-35-MJD-FLN,
      Docket No. 2 (D. Minn. Jan. 6, 2012) (same); see generally S.E.C. v. Stanford
      Int’l Bank Ltd., No. 3:09-CV-298-N (N.D. Tex.).




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